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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                                                                    ORDER
             v.                                                   12-CR-235


DAYSHAWN BRAZIER,


                                 Defendant.


      This case was referred to Magistrate Judge Jeremiah J. McCarthy, pursuant to

28 U.S.C. § 636(b)(1)(B) for pretrial proceedings. Defendant filed a motion to suppress

statements that he made on January 23, 2012 (Dkt. No. 291). An evidentiary hearing

was held on February 4, 2014, and the government submitted a post hearing briefs

(Dkt. Nos. 386 and 387) on April 24, 2014. Magistrate Judge McCarthy filed a Report

and Recommendation (Dkt. No. 473) on December 22, 2014 recommending that

defendant Dayshawn Brazier’s motion to suppress (Dkt. No. 291) should be denied. No

objections were filed within the deadline set forth in the Report and Recommendation.

       It is hereby ORDERED, after de novo review, and for the reasons set forth in

Magistrate Judge McCarthy’s Report and Recommendation, defendant Brazier’s motion

to suppress statements that he made on January 23, 2012 is denied. The Report and

Recommendation (Dkt. No. 473) is therefore adopted in its entirety.
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     IT IS SO ORDERED.

                                  ____Richard J. Arcara____________
                                  HONORABLE RICHARD J. ARCARA
                                  UNITED STATES DISTRICT COURT

Dated: January 15, 2015




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